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                              UNITED STATES DISTRICT COURT
                         THE SOUTHERN DISTRICT OF NEW YORK (SDNY)

PETITIONERS:

Joseph Brodie
#71142-050
FCI Otisville
PO BOX 1000, Otisville NY 10963-1000

&

Dana Mednick
5 Waterville Road
Manalapan NJ 07726
Phone: (732) 742-4791 Email: pug33@live.com


       vs                                           DOCKET: TO BE ASSIGNED

Respondent:
Warden William S. Pliler
FCI Otisville
PO BOX 600, Otisville NY 10963-0600

PETITION FOR A WRIT OF HABEUS CORPUS UNDER 28 U.S.C. SECTION 2241 BY A
FEDERAL PRISONER HELD IN THIS DISTRICT

JURISDICTION:

Mr.Brodie is in a Federal Prison in Otisville New York which is in Orange County, NY in the
area covered by the White Plains Division of this Court. He is complaining about the manner in
which the Federal Bureau of Prisons is improperly administering his sentence.

EXHAUSTION:

Mr.Brodie has fulfilled his Exhaustive Requirements. Ms.Mednick is not required to Exhaust.

PETITION SUMMARY:
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This case is about the extra twenty (20) days that the BOP is forcing Mr.Brodie to serve before
they release him to Supervised Release. Since even with the extra days he will be released on 9
January 2023, he will be irreparably harmed if this case is not expedited.

CLAIMS:

  Claim One:
   The BOP has miscalculated Mr.Brodie's FTC credits under the First Step Act. He has
completed sufficient programming to qualify for the maximum 365 days sentence reduction, yet
they are presently only awarding him 345 days -a reduction of 20 days, which improperly
lengthens his time in custody.

  Claim Two:
   The BOP refuses to award the FTC credits that Mr.Brodie is continuing to earn. Since their
last award, Mr.Brodie has continued to take qualifying programming, but he is not receiving
those credit rewards which means he will serve too much time in custody. If the BOP is allowed
to delay the award, he will have no remaining sentence to apply them too and will be irreparably
harmed.

 Claim Three:
   The BOP is refusing to award Mr.Brodie First Step Act (FSA) credits under their special
COVID/Lockdown/Wait List provisions, despite him being involuntarily subject to all of those
circumstances. With that provision properly applied, he would qualify for the full (365) days of
early release to Supervised Release. Presently, he will have to serve those extra (20) days in
custody and this will irreparably harm him since even with the extra days, his sentence is quickly
expiring.

 Claim Four:
   The BOP will not actively monitor Mr.Brodie's sentence of award FTC credits while he is on
Home Confinement. This will result in him overserving his sentence by (20) days -for the
unawarded credits- and since his release date is rapidly approaching, his harm is irreparable.

 Claim Five:
  Since Mr.Brodie will spend the extra (20) days under home confinement with Ms.Mednick she
can be considered wrongfully imprisoned too and is entitled to request that his sentence be
reduced by the (20) days of FTC.

RELIEF REQUESTED:
Whether by rectifying the issues raised in the above claims, or by other means, please have the
extra (20) days of FTC awarded and applied to Mr.Brodie's sentence. Alternatively, simply order
the BOP to immediately release him. Please provide all other possible/applicable relief not
expressly sought herein.
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FEE PAYMENT:
As soon as a case number is assigned, a check for the $5 filing fee will be sent to the Clerk of
Court.

AFFIRMATION:
Pursuant to 28 U.S.C. Section 1746, We affirm that everything herein is true and correct.

Emailed to the court on 9 May 2022.

/s/ Joseph Brodie
Joseph Brodie #71142-050
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PO BOX 1000
Otisville, NY 10963-1000

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5 Waterville Road
Manalapan, NJ 07726
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